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 3
                                 UNITED STATES DISTRICT COURT
 4
                                         DISTRICT OF NEVADA
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                                                    ***
 6
     UNITED STATES OF AMERICA                       )          Case No. 2:06-cr-00234-PMP-GWF
 7                                                  )
                               Plaintiff,           )
 8                                                  )
     vs.                                            )
 9                                                  )                   ORDER
     JONATHON LEON TOLIVER,                         )
10                                                  )
                               Defendant.           )
11                                                  )

12              On December 26, 2006, on the Honorable George W. Foley, United States

13   Magistrate Judge entered Findings & Recommendations (Doc. #51) regarding Defendant

14   Toliver’s Motion to Suppress (Doc. #33) filed October 17, 2005, in case number 2:04-cr-

15   482-RCJ-GWF.1

16              Magistrate Judge Foley’s recommendation (Doc. #51) provided as follows:

17              “IT IS RECOMMENDED that Defendant Jonathan Toliver’s Motion
                to Suppress (#33) be Granted, in part, on the grounds that his
18              statement on January 18, 2005 was obtained in violation of his
                Miranda rights and may not be admitted as evidence in the
19              Government’s case-in-chief. The Defendant’s Motion to Suppress
                should also be granted as to the Defendant’s January 15, 2005
20              statement which the Government concedes was obtained in violation of
                Defendant’s Miranda rights and may not be admitted as evidence in
21              the Government’s case-in chief.

22              IT IS FURTHER RECOMMENDED that Defendant Jonathan
                Toliver’s Motion to Suppress (#33) be Denied in part, on the grounds that
23              his statement on October 7, 2004 was given during a non-custodial

24

25          1
             As result of a Superceding Criminal Indictment filed in this case joining Defendant, Jonathan
26   Leon Toliver with Defendant, Donnie Bryant, on December 13, 2006, this Court granted the stipulated
     dismissal of the Indictment of case number 2:04-cr-482-RCJ-(GWF), and consolidated all prior motion
     proceedings with this action. (See Doc. #48).
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 1             interview and may therefore be admitted in evidence in the
               Government’s case-in-chief.
 2
               IT IS FURTHER RECOMMENDED that Defendant Jonathan
 3             Toliver’s Motion to Suppress (#33) be Denied in part, on the grounds
               Defendant’s statement on January 15, 2005 and January 18, 2005,
 4             although obtained in violation of Miranda, were otherwise voluntary,
               and therefore may be used for purposes of impeachment if Defendant
 5             testifies.”

 6             On January 6, 2007, Plaintiff, United States, filed objections to Magistrate Judge

 7   Foley’s Report and Recommendations (Doc. #57) and on January 29, 2007, Defendant

 8   Toliver filed amended objections (Doc. #59). On March 8, 2007, the Court conducted a

 9   hearing to consider the arguments of counsel for both parties with respect to their respective

10   objections.

11             Defendant Toliver objects to the extent that the Findings and Recommendations

12   of Magistrate Judge Foley provide that: (1) Toliver was not in custody when he was

13   interrogated on October 7, 2004; and (2) the “pervasive” violations of Miranda v. Arizona,

14   384 U.S. 436 (1966) in the interrogations of Defendant, Toliver did not bar the use of

15   Toliver’s statements for impeachment at trial. (Doc. #59). The Government objects to the

16   Findings and Recommendations of Magistrate Judge Foley concerning the legality of the

17   Miranda rights provided to Toliver during his interrogation of January 18, 2005.

18             Based upon a de novo review of the proceedings, the Court finds that the

19   Government’s objection to Magistrate Judge Foley’s finding that the statement of Toliver

20   given on January 18, 2005, were obtained in violation of Miranda must be overruled and

21   Magistrate Judge Foley’s Findings and Recommendations Affirmed.

22             Similarly, based upon a de novo review of the proceedings, the Court also finds

23   that Defendant Toliver’s objection to Magistrate Judge Foley’s findings that although

24   Defendant Toliver’s statements of January 15, 2005 and January 18, 2005, were obtained

25   in violation of Miranda, they were otherwise voluntary and thus may be used for purposes

26   of impeachment must be overruled and the Findings and Recommendations of Magistrate

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 1   Judge Foley in this regard must be Affirmed.

 2             The Court’s de novo review of Toliver’s objection to Magistrate Judge Foley’s

 3   finding that Toliver was not in custody when he was interrogated on October 7, 2004,

 4   however, leads to a different result.

 5             The Court concurs with Magistrate Judge Foley’s declaration of the legal

 6   standard to be applied in assessing whether an individual is “in custody” during an

 7   interrogation, to wit: what were the circumstances surrounding the interrogation, and given

 8   those circumstances, would a reasonable person have felt at liberty to terminate the

 9   interview and leave. Thompson v. Keohane, 516 U.S. 99, 113 (1995). The following

10   factors, however, cause this Court to conclude that under the Thompson v. Keohane,

11   standard, Toliver must be deemed to have been in custody at the time of his interrogation on

12   October 7, 2004.

13             1. Toliver was in the process of being released from the
               Stewart-Mohave Jail when Detectives Bodnar and Tanner approached
14             him and asked if he would go with them to the North Las Vegas Police
               Department for questioning regarding some shootings. Toliver agreed.
15
               2. The Detectives told Toliver, “once we are done” they would take Toliver
16             home. Toliver’s home was a considerable distance from the police department
               building.
17
               3. Upon arrival at the police department, the Detectives drove their
18             vehicle into a parking lot secured by a fence and automatically locked
               gate. Once inside the police department building, the detectives led
19             Toliver through two secure doors and into an interrogation room.

20             4. Toliver brought a bag of personal belongings into the building,
               including a cell phone, money, keys and some jewelry but the
21             detectives took Toliver’s property and put it into an office.

22             5. After the detectives placed Toliver into an interrogation room, they
               closed the door and left him there alone for approximately 40-45
23             minutes. The room was windowless and contained only a table and
               chairs. A video camera hung in the corner.
24
               6. Detective Bodnar commenced the interrogation with a defective
25             recitation of the Miranda warnings.

26   ///

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 1             7. At no time during the two-hour interrogation did Detective Bodnar
               tell Toliver that he was free to leave.
 2
               8. Detective Bodnar presented Toliver with other witnesses’
 3             statements relating to Toliver's participation in various crimes. Bodnar
               challenged Toliver's answers to questions regarding the shooting incidents saying
 4             things like:
               “that's not adding up”
 5             “dude I need you to be straight with me and don’t bull shit me”
               “Are you sure, tell me the truth, dude”
 6             “your story is way different from Chuck’s, because Chuck told us what
               happened”
 7             “Now’s the time to clear all this shit up”
               “Okay let me stop you because I don't want no more bull shit on this okay?”
 8
               9. Detective Bodnar also queried Toliver repeatedly concerning the
 9             type of gun he used, where he was positioned, who participated, what
               prompted the defendants to shoot at the victim, and how many shots
10             Toliver fired.

11             10. The focus of the interview was on Toliver's involvement in
               multiple shooting incidents
12
               11. Toliver had no means of transportation and depended on the
13             officers to take him home

14             Although the Court recognizes that Toliver had been told that he was not under

15   arrest and was not handcuffed at the time of the interrogation, the Court finds that the

16   foregoing factors would cause a reasonable person to feel that they were not at liberty to

17   terminate the interrogation and leave.

18             IT IS THEREFORE ORDERED that the objections of the Government

19   (Doc. #57) filed January 26, 2007, are Overruled.

20             IT IS FURTHER ORDERED that the amended objections to Findings and

21   Recommendations regarding Motion to Suppress (Doc. # 59) filed January 29, 2007, on

22   behalf of Defendant, Jonathan Toliver are Overruled in part and Sustained in part.

23             IT IS FURTHER ORDERED that the Findings and Recommendations (Doc.

24   #51) entered by the Honorable George W. Foley, United States Magistrate Judge on

25   December 27, 2006, are hereby affirmed with the exception of the recommendation that

26   Defendant Toliver’s Motion to Suppress (Doc. #33) be denied in part, on the grounds its

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 1   statement of October 7, 2004, was given during a non custodial interview and may therefore

 2   be admitted in evidence in the Government’s case-in-chief, which Findings and

 3   Recommendations is Overruled.

 4             IT IS FURTHER ORDERED that Defendant Jonathan Toliver’s Motion to

 5   Suppress (Doc. #33) filed October 17, 2005, is therefore Granted, except to the extent that

 6   Defendant’s statement on January 15, 2005 and January 18, 2005, although obtained in

 7   violation of Miranda, were otherwise voluntary and may therefore be used for purposes of

 8   impeachment if Defendant testifies at trial.

 9
     DATED: March 27, 2007.
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12                                        PHILIP M. PRO
                                          United States District Judge
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